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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                              FORT MYERS DIVISION

  WHEREVERTV, INC.,

               Plaintiff,

  v.                                 Case No:       2:18-cv-529-FtM-99NPM

  COMCAST                    CABLE
  COMMUNICATIONS, LLC,

               Defendant.


                              OPINION AND ORDER

        This    matter   comes   before     the     Court      on     Comcast     Cable

  Communications, LLC’s Motion to Stay Pending Inter Partes Review

  (Doc. #90) filed on September 6, 2019.          Plaintiff Wherevertv, Inc.

  filed a Response in Opposition (Doc. #97) on September 29, 2019,

  and Comcast replied (Doc. #102).          For the reasons set forth below,

  the Motion is denied without prejudice.

                                       I.

        This is a patent infringement dispute concerning U.S. Patent

  No. 8,656,431 (“‘431 Patent”) held by plaintiff WhereverTV, Inc.,

  entitled     “Global   Interactive      Program     Guide         Application     and

  Device.” 1   Plaintiff alleges that defendant Comcast’s Xfinity X1


        1The ‘431 Patent (attached to the Amended Complaint at Doc.
  #30-1), titled “Global Interactive Program Guide Application and
  Device”, discloses a video access and delivery system for today’s
  video entertainment environment.       One or more embodiments
  disclosed in the ‘431 Patent are directed at receiving, accessing,
  managing, and viewing digital video such as live television,
  television on demand, and pre-recorded video and audio programming
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  Platform has directly infringed and continues to directly infringe

  on the ‘431 Patent.        (Doc. #30, Amended Complaint.)

        Plaintiff initiated this case on August 1, 2018 (Doc. #1) and

  on August 20, 2019, plaintiff filed two separate petitions for

  review by the U.S. Patent and Trade Office (USPTO) for inter partes

  review 2 of the ‘431 Patent.        Comcast believes that these petitions

  demonstrate that the asserted claims of this patent-in-suit case

  are   invalid   and   should   be    canceled    or   review     will   at   least

  streamline the issues and simply this case.                   For these reasons

  (and others), Comcast moves to stay this case pending the USPTO’s

  resolution of the petitions.          Wherevertv opposes a stay, arguing

  that unless and until the USPTO institutes an inter partes review,

  it makes little sense to stay the litigation and doing so will

  result in undue prejudice to plaintiff.



                                        II.



  from multiple content sources, via an Internet-enabled device
  (e.g., smart phone, tablet, computer, television), anywhere in the
  world over an internet connection using an interactive programming
  guide.
        2The inter partes review process “is designed to improve upon
  the previous inter partes re-examination process by (1) reducing
  to 12 months the time the PTO spends reviewing validity, from the
  previous reexamination average of 36.2 months; (2) minimizing
  duplicative efforts by increasing coordination between district
  court litigation and inter partes review; and (3) allowing limited
  discovery in the review proceedings.”      Automatic Mfg. Sys. v.
  Primera Tech., No. 6:12–cv–1727–RBD-DAB, 2013 WL 6133763, at *2
  (M.D. Fla. Nov. 21, 2013).



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        A. Standard

        “Courts   have   broad   discretion       to   manage       their   dockets,

  including the power to grant a stay pending the conclusion of PTO

  administrative proceedings.”       Automatic Mfg. Sys., Inc. v. Primera

  Tech., Inc., No. 6:12–cv–1727, 2013 WL 6133763, at *1 (M.D. Fla.

  Nov. 21, 2013) (citation omitted).           The party moving for a stay

  bears the burden of demonstrating that such relief is warranted.

  See id. (citing Landis v. N. Am. Co., 229 U.S. 248, 254–55 (1936)).

        When a party moves to stay patent infringement litigation

  during the pendency of inter partes review, courts consider the

  following non-exhaustive factors: (1) whether a stay will simplify

  the issues in question for trial of the case; (2) whether discovery

  is complete and whether a trial date has been set; and (3) whether

  the   stay   would   unduly   prejudice    or   present      a    clear   tactical

  disadvantage to the non-moving party.            See id.; Andersons, Inc.

  v. Enviro Granulation, LLC, No. 8:13–cv–3004, 2014 WL 4059886, at

  *2 (M.D. Fla. Aug. 14, 2014) (citations omitted).                    “The court’s

  inquiry is not limited to these three factors — the totality of

  the circumstances governs.”       Automatic Mfg., 2013 WL 6133763, at

  *1.

        B. Inter Partes Review Background and Timing

        Inter partes review was created by Congress in the Leahy–

  Smith America Invents Act (AIA).           See 35 U.S.C. §§ 311–319.              An

  inter partes review begins by a non-patent owner petitioning the




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  USPTO to review the patentability of a patent.                  See 35 U.S.C. §

  311(b).    The non-patent owner challenges one or more claims of a

  patent as invalided under 35 U.S.C. §§ 102 (prior art) and/or 103

  (obviousness).      The patent owner may file a response to argue

  against the USPTO instituting an inter partes review.                        See 37

  C.F.R. § 42.107(a)-(b).

        An   inter   partes   review   is    limited    to      only   those   claims

  challenged in the petition.          If, based on the petition and the

  patent owner’s preliminary response, the USPTO determines “that

  there is a reasonable likelihood that the petitioner would prevail

  with respect to at least 1 of the claims challenged in the

  petition,” then it may initiate a review.                  35 U.S.C. § 314(a).

  That decision must be made within three months of the patent

  owner’s response, or three months from the last day the patent

  owner could respond to the petition.           See 35 U.S.C. § 314(b).

        The scope of the review is indeterminate until the UPSTO’s

  determination, however, because the regulations that implement the

  AIA further provide that the USPTO may choose to review “all or

  some of the grounds of unpatentability asserted for each claim.”

  37 C.F.R. § 42.108(a).        In fact, even if all the grounds in a

  petition are well-taken, the USPTO may authorize the review to

  proceed on only “some of the challenged claims” or on only “some

  of the grounds of unpatentability asserted for each claim.”                     Id.

  Indeed, the USPTO declines to conduct the review altogether if it




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  cannot proceed with a review within the mandated timeframe.                    77

  Fed. Reg. 48,689.

        On August 20, 2019, Comcast filed two petitions for inter

  partes review of each asserted claim of the ’431 patent.                   Thus,

  by statute, the USPTO has at most six months – until about March

  2020 3 – to determine whether one or both of Comcast’s petitions

  establish a likelihood that the claims are invalid.                If the USPTO

  agrees with Comcast, then it will institute inter partes review.

  Furthermore, the USPTO may decide whether to institute inter partes

  review earlier if plaintiff, as the alleged patent owner, waives

  its right to file a preliminary response to Comcast’s petitions.

  See 37 CFR § 42.107(b).

        If the USPTO institutes a inter partes review, a panel of

  three administrative patent judges, who have “legal knowledge and

  scientific ability,” conduct the proceedings.                 See 35 U.S.C. §§

  6(a)-(c),   311.     The   parties    engage    in   limited    discovery     and

  respond to arguments and have the right to an oral hearing.                   See

  35 U.S.C. § 316(a)(10).      The USPTO must complete the inter partes

  review within one year, with the possibility that the proceeding

  may be extended for an additional six months for good cause.                  See

  35 U.S.C. § 316(a)(11).      Any party may appeal the USPTO’s decision



        3Comcast states that the USPTO’s institution-decision
  deadline triggers upon docketing of Comcast’s petitions at the
  U.S. Patent & Trademark office, which had not happened at the time
  it filed its Motion to Stay.



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  to the United States Court of Appeals for the Federal Circuit.

  See 35 U.S.C. §§ 141–44.

                                     III.

        Wherevertv argues that a petition for — as opposed to an

  institution of — inter partes review does not shed much light on

  the potential scope of an inter partes review, as it remains

  unclear which, if any, petitions might be granted and when they

  might be granted.      Therefore, plaintiff argues the Court should

  deny Comcast’s Motion to Stay because the stay would prejudice

  plaintiff and cause a tactical disadvantage to plaintiff.             Comcast

  responds that a stay would conserve the parties’ and judicial

  resources.

        The Court is mindful (and the parties acknowledge) that judges

  within the Middle District of Florida have issued decisions ruling

  both ways on this issue – some grant a stay although the USPTO has

  not yet decided whether to institute inter partes review and some

  deny the request for stay without prejudice to be refiled if the

  USPTO institutes inter partes review.          See Automatic Mfg. Sys.,

  Inc. v. Primera Tech., Inc., No. 6:12-CV-1727-ORL-37, 2013 WL

  1969247, at *3 (M.D. Fla. May 13, 2013) (“because a petition does

  not shed much light on the potential scope of an inter partes

  review, and because a stay could delay these proceedings for at

  least six months with little to show, the Court finds that a stay

  would unduly prejudice or present a clear tactical disadvantage to




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  Plaintiff”); Patent Asset Licensing, LLC v. Bright House Networks,

  LLC et al., 2016 WL 4431574, at *3 (M.D. Fla. Aug. 22, 2016)

  (noting that courts in the Eleventh Circuit have also stayed cases

  before the USPTO institutes inter partes review because of the

  concrete, numerous, and well-recognized benefits of resort to the

  USPTO, which all apply here); Canvs Corp. v. Nivisys, LLC, 2:14-

  cv-99-FtM-38DNF (M.D. Fla. July 31, 2014) (denying motion to stay

  without prejudice because the inter partes review petition was

  still pending with the USPTO).

        In this case, the Court exercises its discretion and finds

  that the more prudent course of action is to deny the request

  without prejudice to be revisited if the USPTO takes up review.

  The Court agrees with the well-reasoned analysis in Automatic Mfg.,

  2013 WL 1969247, where the request was denied without prejudice,

  and was in fact granted once the USPTO decided to institute inter

  partes   review.      See    Automatic     Mfg.   Sys.,      Inc.   v.   Primera

  Technology, Inc., 6:12-cv-1727-Orl-37DAB, 2013 WL 6133763 (M.D.

  Fla. Nov. 21, 2013).

        In view of this administrative framework, it seems clear
        that a stay of a patent infringement action is not
        warranted when based on nothing more than the fact that
        a petition for inter partes review was filed in the
        USPTO. All in all, a petition can be pending before the
        USPTO for up to six months before the agency decides to
        “initiate” an inter partes review. This six months is
        a kind of limbo that requires the court and the parties
        to wait while the USPTO makes its decision.       If it
        chooses not to proceed, then this action will have been
        left languishing on the Court’s docket with no
        discovery, no positioning of the parties on claim



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        construction, and no dispositive motions. Put simply,
        the parties will be no closer to trial in a type of case
        that requires “early substantive disclosure” in order to
        efficiently manage discovery and pretrial motion
        practice.   See Peter S. Menell, et al., Patent Case
        Management Judicial Guide 2–20 (2d ed. 2012).

  Automatic Mfg., 2013 WL 1969247.           Here, a stay would result in

  undue prejudice to plaintiff who should be able to litigate its

  case until the USPTO decides whether to institute inter partes

  review and identifies the scope of the review. 4              The Court can

  then make a more informed analysis on a renewed Motion to Stay as

  to   whether   inter   partes   review    will   simplify   the   issues    and

  streamline this case.

        Accordingly, it is hereby

        ORDERED AND ADJUDGED:

        Comcast Cable Communications, LLC’s Motion to Stay Pending

  Inter Partes Review (Doc. #90) is DENIED WITHOUT PREJUDICE.

        DONE and ORDERED at Fort Myers, Florida, this __9th__ day of

  October, 2019.




  Copies:
  Counsel of Record




        4Even if all the grounds in a petition are well-taken, the
  USPTO may authorize the review to proceed on only “some of the
  challenged claims” or on only “some of the grounds of
  unpatentability asserted for each claim.” 37 C.F.R. § 42.108(a).



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